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 3                                     UNITED STATES DISTRICT COURT
 4                            FOR THE EASTERN DISTRICT OF CALIFORNIA
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 6   FELICIA BLACKMON,                                   Case No. 1:24-cv-00711-BAM
 7                        Plaintiff,                     ORDER ON APPLICATION TO
                                                         PROCEED IN FORMA PAUPERIS AND
 8          v.                                           DIRECTING CLERK TO ISSUE
                                                         SUMMONS AND SCHEDULING ORDER
 9   COMMISSIONER OF SOCIAL
     SECURITY,                                           (Doc. 2)
10
                          Defendant.
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13          Pending before the Court is Plaintiff’s application to proceed in forma pauperis under 28
14   U.S.C. § 1915. Plaintiff has made the showing required by § 1915, and the request to proceed in
15   forma pauperis will be granted. 28 U.S.C. § 1915(a). Accordingly, IT IS HEREBY ORDERED
16   as follows:
17          1. Plaintiff’s application to procced in forma pauperis is GRANTED;
18          2. The Clerk of the Court is directed to issue new case documents, including the
19                 Scheduling Order;
20          3. The Clerk of the Court also is directed to issue summons and service shall proceed
21                 under the Court’s E-Service program with the Clerk delivering to the Commissioner of
22                 Social Security Administration and the United States Attorney’s Office at their
23                 designated email addresses, a notice of electronic filing of the action along with the
24                 summons and complaint.
25
     IT IS SO ORDERED.
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        Dated:       June 21, 2024                               /s/ Barbara A. McAuliffe              _
27
                                                             UNITED STATES MAGISTRATE JUDGE
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